                                                                                   Motion GRANTED.
                       IN THE UNITED STATES DISTRICT COURT                         Hearing reset for
                      FOR THE MIDDLE DISTRICT OF TENNESSEE                         11/1/13 at 10:30 a.m.
                                NORTHERN DIVISION

UNITED STATES OF AMERICA,                    :
                                             :
         Plaintiff,                          :
                                             :
v.                                               :    CASE NO. 2:12-00006
                                             :        JUDGE TRAUGER
                                             :
LINDA KAY POWELL and                         :
WILLIAM STEVE HOWELL,                        :
     Defendants.                             :

                                  MOTION TO CONTINUE

         Comes now the Defendant Linda Kay Powell, by and through counsel, and respectfully

requests that her sentencing hearing currently scheduled for March 8, 2013, be continued until

early May, 2013, and for cause would state that Defendant Howell’s case has been reset and that

a continuance will best serve the ends of justice. Further, the U.S. Attorney General’s office has

no objections to this Motion.

                                                      Respectfully submitted,

                                                      GALLIGAN & NEWMAN
                                                      309 West Main St.
                                                      McMinnville, TN 37110
                                                      (931) 473-8405

                                                      /s/ John P. Partin
                                                      John P. Partin, #020921
                                                      Attorney for Defendant




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